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                                                                                                    United States Bankruptcy Court
                                      UNITED STATES BANKRUPTCY COURT                                    Southern District of Texas
                                        SOUTHERN DISTRICT OF TEXAS                                         ENTERED
                                                                                                       September 13, 2023
                                                                                                        Nathan Ochsner, Clerk

In     Yolanda Aqunette Punch
Re:    Debtor                                            Case No.: 23−33535
                                                         Chapter: 7


                         INITIAL ORDER FOR PROSECUTION OF CHAPTER 7 CASE

        THIS IS A CASE MANAGEMENT ORDER ISSUED UNDER AUTHORITY OF
        BANKRUPTCY CODE § 105(a). FAILURE TO COMPLY WITH THIS ORDER MAY
        RESULT IN DISMISSAL OF THIS CASE, POSSIBLY WITH PREJUDICE TO THE
        DEBTOR FILING ANOTHER BANKRUPTCY CASE. NOTE THAT UNDER AUTHORITY
        OF BANKRUPTCY LOCAL RULE (BLR) 1001(d), THE PROVISIONS OF THIS ORDER
        SUPERCEDE THE BLR TO THE EXTENT THAT THERE MAY BE A CONFLICT. IN ALL
        CASES, IF NO PARTY REQUESTS A HEARING, THE COURT MAY DISMISS A CASE
        WITHOUT AN ACTUAL HEARING AS PROVIDED BY BANKRUPTCY CODE § 102(1).



      1. Payment of the filing fee.
              a. The Debtor shall pay the filing fee with the petition or promptly on the due date provided in an order
                 allowing installment payments.
              b. If the filing fee is not paid with the petition and no motion for installment payment is filed, or if any
                 installment of the filing fee is not paid when due and no extension has been requested, the Clerk shall
                 issue a notice of pending dismissal of the case for failure to pay filing fees. The notice of pending
                 dismissal shall be served on the Debtor, Debtor's' counsel and the chapter 7 trustee.
              c. If the Debtor does not pay the filing fee or request a hearing within 14 days after the notice is served,
                 the case may be dismissed forthwith.


      2. Filing the list of creditors, schedule of assets and liabilities, etc.
              a. The list of creditors (with addresses) must be filed with the petition in the format prescribed by the
                 Clerk unless a motion for extension of time under Rule 1007(a)(4) is filed with the petition.
              b. A motion for extension of time to file the list of creditors or bankruptcy schedules need be served
                 only on the chapter 7 trustee and U.S. Trustee.
              c. If the U.S. Trustee files a motion to dismiss under Bankruptcy Code § 707(a)(3), the motion shall be
                 served on the chapter 7 trustee and the Debtor, and if the Debtor is represented by counsel, on
                 Debtor's counsel.
              d. If the U.S. Trustee files a motion to dismiss under §707(a)(3), the motion need not include BLR 9013
                 language but shall include the following notice:




If the Debtor requests a hearing, the Debtor and counsel must attend the hearing. If no party has requested a hearing
within 14 days after the date that the motion was served, the United States Trustee may file a certificate of
non−compliance and the Court may dismiss this case without actually conducting a hearing.
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THE CLERK IS DIRECTED TO ENTER A COPY OF THIS ORDER IN EACH CHAPTER 7 CASE FILED IN
THIS COURT.


Signed and Entered on Docket: 9/13/23




The Clerk shall notice:

Debtor
Debtor's counsel
Chapter 7 Trustee
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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 23-33535-jpn
Yolanda Aqunette Punch                                                                                                 Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 1
Date Rcvd: Sep 13, 2023                                               Form ID: iop7                                                              Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 15, 2023:
Recip ID                 Recipient Name and Address
db                     + Yolanda Aqunette Punch, PO Box 6, Shepherd, TX 77371-0006

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 15, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 13, 2023 at the address(es) listed
below:
Name                               Email Address
Ronald J Sommers
                                   efile@nathansommers.com RS@trustesolutions.com,RS@trustesolutions.net,pbuenano@nathansommers.com

US Trustee
                                   USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 2
